Case 2:97-cr-20263-.]PI\/| Document 85 Filed 06/15/05 Page 1 of 3 Page|D 45
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UNITED STATES OF AMERICA

V.

No. 2:97cr20263-Ml

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~ U.S. DISTHICT JUUL.)UJ

RODNEY ROBINSON

 

 

  
  
 

Corne Now Defendant, Rodney Robinsorhi,"hy and through his Attorney Samuel L.
Perkins and respectfully request a continuance of this matter on June 15, 2005. Counsel
has spoken with Prosecutor Carroi Andre who has no opposition to this request Counsel

will be in trial in Biioxi, Mississippi on this date

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Samuel L. Perkms 015
Attorney f`or the Det`endant § §
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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a copy of the foregoing has been transmitted

to Judge Jon Phipps McCalla, United States District Judge and Assistant Attorney

@

Case 2:97-cr-20263-.]PI\/| Document 85 Filed 06/15/05 Page 2 of 3 Page|D 46

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tennessee 38103, via hand-delivery, on the lMay oi` ' e, 2005. f

      

g_‘:‘,
muel L. Perkins /

     

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
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Honorable J on McCalla
US DISTRICT COURT

